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January 10, 2025

VIA ECF                                                            Defendants' request to stay the case
                                                                   pending the interlocutory appeal in SEC
Hon. Edgardo Ramos                                                 v. Coinbase, Inc., et al., No. 1:23-
United States District Court, Southern District of New York        cv-4738 (KPF) (S.D.N.Y. Jan. 7 2025)
Thurgood Marshall United States Courthouse                         is denied.
40 Foley Square, Courtroom 619
New York, NY 10007                                                 SO ORDERED.

Re:    SEC v. Sun, et al., Case No. 1:23-cv-2433-ER (S.D.N.Y)                    Edgardo Ramos, U.S.D.J.
                                                                                 Dated: January 16, 2025
Dear Judge Ramos:                                                                New York, New York

We represent defendants Tron Foundation Limited, BitTorrent Foundation Ltd., Justin Sun, and
Rainberry, Inc. (collectively, “Defendants”). We write to inform the Court of a significant recent
decision by Judge Failla in SEC v. Coinbase, Inc., et al., No. 1:23-cv-4738 (KPF) (S.D.N.Y. Jan. 7,
2025), certifying for interlocutory appeal Judge Failla’s Opinion and Order denying in part the
defendants’ motion for judgment on the pleadings (the “Prior Order”), and staying all
proceedings until the appeal is resolved (the “Coinbase Decision”, attached as Exhibit A).

At the heart of the Coinbase Decision is a recognition by Judge Failla that there is “persistent
disagreement [among district courts] about how to apply Howey to crypto-assets” (Coinbase at
Decision 22), and that “these conflicting decisions on an important legal issue necessitate the
Second Circuit’s guidance” before the action should proceed (id. at 20). That “central question”
– “how courts should apply Howey to crypto-asset transactions” in determining whether they
reflect a securities transaction (as opposed to a transaction of commodities or other assets) (see
id. at 25) – is also fundamental to Defendants’ Motion to Dismiss pending before this Court. See
ECF No. 62 (the “Motion”).

Specifically, Judge Failla frames the matter certified for appeal as “effectively [an interpretation
of] the meaning of ‘investment contract,’ 15 U.S.C. § 77b(a)(1), through the lens of Howey and
its progeny, based on the pleadings and without a factual record” (see Coinbase Decision at 16)
– a “purely legal” question (see id. at 17). Defendants’ Motion in this case presents an identical,
“purely legal” inquiry and likewise calls for this Court to interpret the meaning of “investment
contract” based solely on the pleadings. See Motion at 38-43 (arguing that the SEC’s claims fail
because the alleged crypto-asset transactions at issue do not “constitute offers or sales of
investment contracts” under Howey). Ultimately, if the crypto asset transactions at issue in this
case are not securities transactions under Howey, the SEC’s claims must be dismissed.
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As discussed below, the Coinbase Decision also implicates several subsidiary issues addressed in
Defendants’ Motion, each related to the central question, and which also are expected to be
decided by the Second Circuit. See Coinbase Decision at 25-26.

The Significance of a Crypto-Asset’s Digital Ecosystem. The first subsidiary issue concerns the
significance of a crypto-asset’s digital ecosystem. The Coinbase Decision recognizes that “[t]he
significance of a crypto-asset’s digital ecosystem to the Howey analysis . . . is a difficult issue of
first impression for the Second Circuit.” Id. at 28. Specifically, Judge Failla notes that the Order
certified for appeal before the Second Circuit “found that purchasers had a reasonable
expectation to profit from the efforts of others based on the continued development of the
ecosystem surrounding a crypto-asset, increasing its value in turn.” Id. at 26 (emphasis added).

That precise argument is directly at issue in Defendants’ Motion. Defendants’ Motion argues
that alleged social media contests and giveaways concerning the tokens at issue are not
“investment contracts” in part because contest participants could not reasonably expect profits
“solely from the efforts of others.” Motion at 41. The SEC argues in opposition that the “efforts
of others” requirement is satisfied because “the potential profits derived from the increase in
value of [the tokens] were based on the Sun Defendants’ efforts to make the Tron ecosystem
successful,” which Defendants contest on reply. ECF No. 64 at 32 (“Opposition”) (emphasis
added); see also ECF No. 67 at 19-20 (“Reply”). As a separate point, the SEC also makes reference
to the significance of the “Tron ecosystem” in arguing that airdrops of the BTT token involved a
“risk of loss” under Howey’s first prong, citing the very Coinbase opinion that is now certified for
interlocutory appeal. See Opposition at 30.

Secondary Market Trading. The second subsidiary issue addressed in the Coinbase Decision is
whether secondary market transactions of crypto-assets may constitute “investment contracts”
under Howey as a matter of law. See Coinbase Decision at 21-23, 25. In certifying the Court’s
Prior Order for appeal, the Coinbase Decision points to conflicting authority within the Circuit
concerning this subsidiary issue: namely, SEC v. Ripple Labs, Inc., 682 F. Supp. 3d 308, 324-30
(S.D.N.Y. 2023) (drawing a distinction between primary sales to institutional investors and
secondary sales to public buyers, which did not satisfy Howey), SEC v. Terraform Labs Pte. Ltd.,
684 F. Supp. 3d 170, 195-98 (S.D.N.Y. 2023) (declining to endorse the distinction made in Ripple)
and the Court’s own Prior Order being certified for appeal (which “then deepened the split by
adopting an analysis more congruent with that of Terraform”). See Coinbase Decision at 19-21.
The Coinbase Decision also recognizes an opinion by Judge Jackson of the District Court for the
District of Columbia in SEC v. Binance Holdings Ltd., No. 23 Civ. 1599 (ABJ), 2024 WL 3225974
(D.D.C. June 28, 2024), in which Judge Jackson stated she was “inclined to agree with the
approach” used in Ripple. See Coinbase Decision at 21-22. Judge Failla finds that each of these
decisions provides substantial ground for difference in opinion, necessitating Second Circuit
review of the secondary market issue. See id. at 20-23.

That same secondary market issue is also before this Court in Defendants’ Motion. Defendants
argue that the remaining transactions challenged by the SEC in this action (aside from the social
media contests and airdrops discussed above) are all anonymous, secondary market sales that


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cannot satisfy the third prong of Howey. See Motion at 42-43; Reply at 22-23. In litigating this
point, both Defendants and the SEC cite to Ripple, Terraform, and the Coinbase Prior Order
(which was certified for appeal and stayed by the Coinbase Decision) – the very conflicting
authority that Judge Failla found to provide “substantial ground for difference of opinion.” See
Motion at 42-43; Opposition at 28-29; Reply at 22-23 (also citing Judge Jackson’s opinion in
Binance, which was referenced as conflicting authority by the Coinbase Decision).1

Major Questions Doctrine and Due Process Arguments. Judge Failla writes in the Coinbase
Decision that she had rejected arguments by Coinbase that the SEC was “barred by the Major
Questions Doctrine, the Due Process Clause, or the Administrative Procedure Act from alleging
that the crypto-assets transacted on Coinbase’s platform were investment contracts.” See
Coinbase Decision at 4. Although those arguments were not cited as grounds to certify the Prior
Order, the Coinbase Decision makes clear that Second Circuit may hear these arguments on
interlocutory appeal as well. See id. at 29 n.7, 31 (“[The Court] reiterates that it certifies orders,
and not legal questions, for interlocutory appeal . . . [and therefore] the Second Circuit is free to
consider [these issues] on interlocutory appeal.”).

The Second Circuit’s potential application of the Major Questions Doctrine or the Due Process
Clause to the SEC’s authority to regulate crypto-assets would also affect this action. Indeed,
Defendants raise a similar argument in their Motion, contending that the SEC’s enforcement
action violates due process because it failed to afford Defendants fair notice of the SEC’s claims.
See Motion at 4, 49-50; Reply at 25. In so arguing, Defendants note that “Congress and the courts
have yet to make a definitive determination as to whether such tokens constitute securities,
commodities, or something else.” Motion at 4 (quoting Risley v. Universal Navigation Inc., 2023
WL 5609200, at *3 (S.D.N.Y. Aug. 29, 2023)). Given the breadth of the order certified by Judge
Failla for appeal, this dispositive issue may also soon be decided by the Second Circuit.

Because the central and subsidiary legal issues certified by Judge Failla for interlocutory appeal
are directly relevant to the pending Motion, the result is likely to have a direct impact on the
ultimate disposition here. Defendants thus believe that a pause pending the outcome of the
interlocutory appeal proceedings in the Coinbase matter in the Second Circuit is appropriate and
ask that the Court defer ruling on the Motion accordingly.

                                                    Sincerely,

                                                    FENWICK & WEST LLP

                                                    /s/ Jennifer Bretan

    cc: All Counsel of Record (via ECF)


1
 The intra-district conflict between Ripple and Terraform, as recognized in the Coinbase Decision, was also
discussed in Defendants’ February 16, 2024 pre-motion letter (ECF No. 43), the SEC’s February 28, 2024 response
to Defendants’ pre-motion letter (ECF No. 47), and at the March 14, 2024 pre-motion conference in this action.


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